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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :         CASE NO. 22-cr-007 (TSC)
               v.                            :
                                             :
THOMAS UBERTO,                               :
                                             :
                      Defendant.             :

      NOTICE OF FILING OF ITEMS INCOMPATIBLE WITH CM/ECF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, in accordance with Local Rule 49(e)(1), hereby files this notice of

filing of the following exhibits which are incompatible with CM/ECF filing. The items are two

digital videos that are exhibits 1 and 2, which may be published by the government during the

sentencing hearing. The government has no objection to the public release of these exhibits.

The government has made the following video exhibits available to the Court electronically:

    Exhibit No.         File Name             Source               Time              Length

         1          Uberto sentencing      Open-source           unknown         32 second video
                    exhibit 1.3gp          internet via
                                           Defendant’s
                                              phone
         2          Uberto sentencing      Open-source           unknown         26 second video
                    exhibit 2.3gp          internet via
                                           Defendant’s
                                              phone


                                                       Respectfully submitted,
                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       DC Bar No. 481052

                                                  By:        /s/ Douglas G. Collyer
                                                           DOUGLAS G. COLLYER
                                                           Assistant United States Attorney
                                                           Detailee
                                                           NDNY Bar No. 519096
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